UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION
IN RE: )
) CASE NO: 23-00656-DSC1
PREMIER CAJUN KINGS, LLC ) CHAPTER: 11
)
DEBTOR. )

FALLBROOK MHP, LLC’S MOTION FOR RELIEF FROM STAY

FALLBROOK MHP, LLC (“Landlord”), out of an abundance of caution and pursuant to
11 U.S.C. §§ 362(b)(10) and 541(b)(2) of 11 U.S.C $§ 101 et seq. (“the Bankruptcy Code”)
moves this Court for relief from the automatic stay, if any such stay is in effect, to permit
Landlord to request and execute on a writ of possession against its former tenant Debtor Premier
Cajun Kings, LLC (“Debtor”) from the nonresidential real property located at 2203 Moody
Pkwy, Leeds, AL 35004 (the “Premises”). In support of this Motion, Landlord relies on the
record, the Affidavit of Brad Dunn in Support of Fallbrook MHP, LLC’s Motion for Relief from
Stay attached hereto as Exhibit 1 {the “Dunn Affidavit”), and further states to wit:

I JURISDICTIONAL INFORMATION.

1, On March 14, 2023 (the “Petition Date”), Debtor Premier Cajun Kings, LLC
(“Debtor”) commenced this case, filing for bankruptcy protection under Chapter 11 of the
Bankruptcy Code. [Doc. 1].

2. This Court has jurisdiction over this Motion pursuant to the Bankruptcy Code and
28 U.S.C. § 157(b)(2)(A) and (G). Venue of the Debtor’s Chapter 11 case and this Motion in
this district is proper pursuant to 28 U.S.C § 1409. The statutory predicate for the relief

requested herein is Bankruptcy Code § 362.
Il. FACTS,

3. On or before February 13, 2019, Landlord and Debtor executed that certain lease
(the “Lease”) for certain non-residential real property more specifically identified in the Lease
(the “Premises”}. (Dunn Aff. 7 2.) A true and correct copy of that lease is appended hereto as
Exhibit “A”.

4. Subsequently, Debtor defaulted on its obligations to pay rent due to Landlord
under the terms of the Lease. (Dunn Aff. 93 and 4.)

5, On or about December 15, 2022, counsel for Landlord informed Debtor that it has
elected to terminate the Lease as a result of Debtor’s default under the Lease, and demanded that
Debtor surrender possession of the Premises and pay all rent and other charges. (Dunn Aff. ¥ 3
and 4). A true and correct copy of that letter is appended hereto as Exhibit “B”.

6. On January 10, 2023, Landlord filed an unlawful detainer complaint against the
Debtor in the District Court of St. Clair County, Alabama (the “District Court”}, Case No. 75-
DV-2023-900014 (the “Unlawful Detainer’”’) seeking possession only. (Dunn Aff. 45.) On or
about March 1, 2023, the District Court entered a judgment for possession in favor of Landlord.
A true and correct copy of the Order is appended hereto as Exhibit “C”.

7. As of today’s date, Debtor still has not vacated premises. Just day prior to the
filing date, Landlord filed in the District Court for an application for a writ of possession. A true
and correct copy of the application for possession is appended hereto as Exhibit ““D”.

8. Landlord contends that the automatic stay does not prohibit Landlord from
executing on the Default Judgment for Possession only. However, out of an abundance of
caution, Landlord seeks relief from the automatic stay to execute on the Judgment and to regain

possession of the Premises.
Wi. LEGAL SUPPORT.

9, Bankruptcy Code § 362(a)(2) provides that the filing of a bankruptcy petition
“operates as a stay, applicable to all entities, of... the enforcement, against the debtor or against
property of the estate, of a judgment obtained before commencement of the case under this
title...” 11 U.S.C. § 362(a)(2).

10. Bankruptcy Code § 365(c)(3) provides that “...[t]he trustee may not assume
or assign any executory contract or unexpired lease of the debtor, whether or not such
contract or lease prohibits or restricts assignment of rights or delegation of duties, if...
[s]uch lease is of nonresidential real property and has been terminated under applicable non-
bankruptcy law prior to the order for relief.” 11 U.S.C. § 365(c)(3).

11. Because the Lease itself (and not simply Debtor’s right to possession of the
Premises) was terminated before the Petition Date, the Lease does not constitute property of the
estate and therefore the automatic stay does not apply.! See Jn re Moore, 290 B.R. 851, 909
(Bankr. N.D Ala. 2003; mm re Western Healthcare, LLC, 2010 WL 5300939, *3 (Bankr. N.D.
Ala. 2010).

12. Additionally, Bankruptcy Code § 365(b)(10) further clarifies Bankruptcy Code §
365(a)(1) and provide that there is no stay in effect as to “any act by a lessor to the debtor under
a lease of nonresidential real property that has terminated by the expiration of the stated terms of
the lease before the commenced of or during a case under this title to obtain possession of such
property.” Accordingly, even if the Lease was property of the estate, there would be no stay in
effect against Landlord’s action to regain possession of the Premises. See Western Healthcare,

LLC, 2010 WL 5300939 at *3.

 

"In re Morgan, 181 B.R. 579 (Bankr. N.D. Ala. 1994) involved a residential lease and may be inapplicable but the
lease was terminated pre-petition.
13. Prior to the Petition Date, the Lease had been terminated, Accordingly,
Bankruptcy Code §§ 365(b)(10) and 541(b)(2) specifically provide that the automatic stay does
not apply to the Landlord’s attempts to obtain possession of the Premises for the Lease.

14. Out of an abundance of caution, however, Landlord seeks relief from the
automatic stay to execute on the Default Judgment by obtaining a writ of possession for the

Premises.

WHEREFORE, PREMISES CONSIDERED, Movant prays that this Court issue an
Order granting Fallbrook MHP, LLC relief from the automatic stay so that it can execute a writ
of possession on the Premises by entry of an order in substantially the same form as the proposed
order attached hereto as Exhibit “2”, including a waiver of the stay established by Rule of
Bankruptcy Procedure 4001(a)(3), and that Fallbrook MHP, LLC be granted such other and

further relief as this Court deems just and appropriate.

By: _/s/ E.B. Harrison Willis
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing Motion was
served upon the following via electronic means or by mailing same by United States First Class
Mail in a properly addressed envelope with adequate postage affixed thereon to insure delivery,
addressed as follows:

Per the attached mailing matrix And the below listed

 

 

 

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Done this 3“ day of April, 2023.

By: _/s/ E.B. Harrison Willis
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the praferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Addresg filed pursuant to 11 0.8.C. 342(f) and Fed. R.Bank.P, 2002 (g) {4).

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(u) Official Committee of Unsecured Creditor:
MW)PNC Bank, N. A.

‘u)Santa Cruz Land and Cattle Company

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